      Case 5:13-cr-40057-DDC Document 44 Filed 12/31/13 Page 1 of 2




               In The United States District Court for the District of Kansas

United States of America
                                                05-40057-JAR
Vs


Jonathan Kearn
                      Defendants Motion for Continuance

Comes now the Defendant by and through his Counsel Matthew Works and moves the
Court for a Continuance of the jury trial scheduled for January 7.2014.

In support of the motion the Defendant proffers the following:

1. The defendant is presently not in custody and always appeared for the next hearing.

2. The defendants counsel has just entered his appearance.

3. The Government by Christine Kenney does not object to the continuance.

4. The continuance is in the best interests of both the Government and the Defendant.

5. There are not any speedy trial issues that are present to prohibit a continuance at the
Defendants request.

6. The defendants counsel needs time to review the discovery.

Wherefore the Defendants Counsel respectfully requests a continuance on behalf to the
defendant.
                                                   s/Matt Works____
                                                   Matthew B. Works
                                                   Attorney for the Defendant
                                                    1900 SW Medford
                                                     Topeka, Kansas 66603




 I certify a copy of this document was sent via MCF to the US Attorneys Office 444 SE
               Quincy Topeka, Kansas 66603 on the 30 of December, 2013.


                                       s/Matt Works
                                      Matthew B. Works
Case 5:13-cr-40057-DDC Document 44 Filed 12/31/13 Page 2 of 2
